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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


BEN FEIBLEMAN,
                                   Plaintiff,
                         v.                                 No. 1:19-cv-4327 (VEC) (KHP)


THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
                                   Defendant.


           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned attorneys

for Plaintiff Ben Feibleman and Defendant The Trustees of Columbia University in the City of

New York (“Columbia”), that the above-captioned action is voluntarily dismissed with prejudice

against Columbia pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

Dated: December 23, 2020
       New York, New York


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